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 5
     Attorney for Defendant
 6   ROLANDO MEDINA
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. Cr. S 03-549 EJG
                                     )
12                   Plaintiff,      )     STIPULATION TO REDUCE SENTENCE
                                     )     PURSUANT TO 18 U.S.C. § 3582(c)(2)
13        v.                         )
                                     )     RETROACTIVE CRACK COCAINE
14   ROLANDO MEDINA,                 )     REDUCTION CASE
                                     )
15                   Defendant.      )     Date: Friday, May 23, 2008
                                     )     Time: 10:00 a.m.
16   _______________________________ )     Judge: Hon. EDWARD J. GARCIA.
17        Defendant, ROLANDO MEDINA, by and through his attorney, Assistant
18   Federal Defender David M. Porter, and plaintiff, UNITED STATES OF
19   AMERICA, by and through its counsel, Assistant U.S. Attorney RICHARD J.
20   BENDER, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   On April 8, 2005, this Court sentenced Mr. Medina to a term
27   of imprisonment of 151 months;
28        3.   The sentencing range applicable to Mr. Medina was
          Case 2:03-cr-00549-WBS Document 169 Filed 05/15/08 Page 2 of 3


 1   subsequently lowered by the United States Sentencing Commission in
 2   Amendment 706 by two levels;
 3        4.    Mr. Medina’s adjusted offense level has been reduced from 34
 4   to 32, and a sentence at the low end of the new guideline range is 121
 5   months;
 6        5.    Accordingly, the parties request the court enter the order
 7   lodged herewith reducing Mr. Medina’s term of imprisonment to an
 8   aggregate term of 121 months on all counts.
 9   Dated:    May 5, 2008
10   Respectfully submitted,
11   McGREGOR SCOTT                        DANIEL J. BRODERICK
     United States Attorney                Federal Defender
12
13   /s/ Richard J. Bender                 /s/ David M. Porter
14   RICHARD J. BENDER                     DAVID M. PORTER
     Assistant U.S. Attorney               Assistant Federal Defender
15
     Attorney for Plaintiff                Attorney for Movant
16   UNITED STATES OF AMERICA              ROLANDO MEDINA
17                                       ORDER
18        This matter came before the Court on the motion of the defendant
19   for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) filed on
20   January 14, 2008.   The motion was set for hearing on May 23, 2008, but
21   because the parties have stipulated to the resolution, the matter is
22   taken off calendar.
23        On April 8, 2005, this Court sentenced Mr. Medina to a term of
24   imprisonment of 151 months.    The parties agree, and the Court finds,
25   that Mr. Medina is entitled to the benefit of the retroactive amendment
26   reducing crack cocaine penalties, which reduces the applicable offense
27
     STIPULATION and ORDER REDUCING SENTENCE
28                                     -2-
          Case 2:03-cr-00549-WBS Document 169 Filed 05/15/08 Page 3 of 3


 1   level from 34 to 32.
 2        IT IS HEREBY ORDERED that the term of imprisonment originally
 3   imposed is reduced to an aggregate term of 121 months on all counts;
 4        IT IS FURTHER ORDERED that all other terms and provisions of the
 5   original judgment remain in effect.
 6        Unless otherwise ordered, Mr. Medina shall report to the United
 7   States Probation office closest to the release destination within
 8   seventy-two hours after his release.
 9   Dated:   May 13, 2008
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11                                         /s/ Edward J. Garcia
                                           HONORABLE EDWARD J. GARCIA
12                                         United States District Judge
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     STIPULATION and ORDER REDUCING SENTENCE
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